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                     PX17 Attachment T
Correspondence from US Merchant Systems obtained
  from office of Lindsey Martinez and Seth Davies
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